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                                                                                                                                     FOR CLERK'S USE ONLY
  DISTRICT COURT OF WYAND)OTT7E COUNTY, KANSAS
  LIMITED ACTIONS DEPARTMENT
  PLAINTIFF                                             PHONE NO: (913) 371-0727

  Samnmie B. Nichols

  748 Ann Avenue
  ADDRESS
  Kansas City                                          Kansas                                  66101
  CITY                                                 STATE                                    ZIP

 Vs            DEFENDANT

 Asset Acceptance LLC

 P.O. BOX 2036
 ADDRESS
 Warren, MI 48090-2036
 CITY                                                  STATE                                   ZIP     ACIN            Case No.ITH    Y         S    Division No!

                                                                         PURSUANT TO K.S.A. CHAPTER 61

 You must be present in Count on the          '-day     of    VbC20Jj                        _t     4! a.m., or file your answer
 before said time and date. If you appear and dispute the petition you must file your answer with the clerk of this Court within 10
 days thereafter. If you are served outside of Kansas you may file your answer in writing within 30 days after service of summons
 upon you.
 TO THE ABOVE NAMED DEFENDANT(S):
YOU ARE HEREBY NOTIFIED that an action has been commenced against you in this Court. You must answer to the petition,
which is herewith served upon you, and serve a copy of your answer upon Plaintiffs attorney A.J. Stecklein, 748 Ann Avenue,
Kansas City, Kansas 66101, within the time specified above.
If you do not obey this summons, judgment by default will be taken against you for the relief demanded in the petition. Your
responsive pleading may state as a counterclaim any related claim you may have against the Plaintiff.
If you are not represented by an attorney your aXn        ~ q~           ed by you. The answer shall state the following:
                    (1) ~~~ ~s 2 ~ n ~ fimtv~ ~~~(9
                                               Wha theipt i~jrv              claim, (3) Any claim you have against the Plaintiff
       which arises out of the transaction or occf              zlic so       o h Plaintiffs claim, and (4) Your or your
       attorney's current address, phone                          raimI*JV ronic mail address.
You must also promptly send a copy of your         1g'r.             ti         nr        ,Panif if the Plaintiff has no attorney.


                                                                                                             ~rk of the District Court/Deputy
Return is due no later than 5 days before the date stateffli              for the Defendlant to either appear or plead to the petition.
-------------------------------------          -------------------------------------------------------------------------------
---------                ------------------------- RETURN ON SERVICE OF SUNMONS--------------------------
I hereby certify under oath that I served this summons
     I] PERSONAL SERVICE: By delivering a copy of said summons and a copy of the petition to the defendant on
            ____________________20

     El RESIDENCE SERVICE: By leaving a copy of said summons and a copy of the petition at the usual place of residence of
the defendant on                        ,20        with                                               person of suitable age
                                                                                             __________________,a

and discretion the rein at
     El AGENT SERVICE: By delivering a copy of said summons and a copy of the petition to the agent
               _________________________                           , authorized by appointment or by law to receive service of process on
            ______________________20

     El RESIDENCE SERVICE MAILING: By leaving a copy of said summons and a copy of the petition at the usual place
of residence of the defendant and mailing by first-class mail a notice that such copies have been left on
             ____________________                     20   ____at__________________________________

      ElI    CERTIFIED MAIL SERVICE:                                -By
                                                                     mailing, by first class mail, postage prepaid, a copy of said summons and a copy of the
petition to the defendant on               __________________,20                                                .The    name and address on the envelope read:

      El NO SERVICE: The defendant was not found in this county.

Dated____________                                                                                        By__________
Process Server Signature




                                                                                                                                                    EXHIBIT A
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                  In the District Court of Wyandotte County, Kansas                     FL    D
                              Limited Actions Department                          21    i~8Pj35


  Sammie B. Nichols,CONYKSM



                                              Division:
 Asset Acceptance LLC
                              D e nd    t.-




                                        PETITION

                                       COUNT I
     (Reporting interest for which Defendant is not entitled by contract or law -
    Violation of the Fair Debt Collections Practices Act - 15 U.S.C. §1692 et seq.)


        Comes now Plaintiff Sammie B. Nichols and Plaintiff's petition against

Defendant Asset Acceptance LLC hereby alleges as follows:


        1.       Plaintiff is a natural person residing in Kansas.

        2.       Defendant regularly conducts business in the state of Kansas.

        3.       Plaintiff is a "consumer" as defined by 15 U.S.C. §1692a(2) and is alleged

to have owed a "debt" of a personal, family, or household nature, as defined by 15 U. S.C.

§1I692a(5).

        4.       Defendant is regularly engaged in the third-party collection of consumer

debt and are "debt collectors" as defined by the Fair Debt Collection Practices Act

(hereafter FDCPA), at U. S.C. § 1692a(6).

        5.      Defendant is engaged in the business of purchasing and collecting

"charged-off' consumer accounts alleged to have been originally owed to others
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 (hereinafter "originating creditor").

        6.        On October 2013, Defendant reported to a credit reporting agency,

Equifax, that it has purchased a consumer account from Sears and, pursuant to that

purchase, and Defendant now alleges that it stands in the shoes of Sears and is entitled

to enforce the account pursuant to that purchase.

        7.        On October 2013, Defendant reported to a credit reporting agency,

Experian, that the amount owed was $5419.00 as of October 2013.

        8.        On the same credit report, the creditor from whom Defendant purported

to purchase the debt, Sears, reported that it had charged off the debt at an amount less

than $5419.00.

        9.        Therefore, Defendant had assessed interest on the alleged debt after it

was charged off by the original creditor, Sears.

        10.       The Truth in Lending Act (TILA) regulates the type of account at issue in

this case.

        11.      TILA requires a creditor to send periodic statements to the debtor each

billing cycle if there is an outstanding balance on an account where finance charge is

imposed. 15 U.S.C. § 1637(b).

        12.         That required periodic statement must contain certain required

information which describes what and how the creditor is assessing interest and finance

charges. 15 U.S.C. § 1637(b).

        13.        Consistent with 15 U.S.C. § 1637(b), Regulation Z also requires

creditors to "mail or deliver a periodic statement as required by [12 C.F.R.] § 226.7 for

each billing cycle at the end of which an account has a debit or credit balance of more than




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$1 or on which a finance charge has been imposed." Id. at        226.5(b) (2)(i).

        14.           However, Regulation Z provides exceptions to this requirement that

periodic statements be sent and enables creditors to not send those required periodic

statements if the creditor does certain things.

        15.           One of those exceptions is if the creditor has charged-off the account in

accordance with loan-loss provisions and will not charge any additional fees or interest on

the account. Id. at     226.5(b) (2)(i).

        16.           Therefore, under applicable regulations, Sears was required to send

periodic statements to Plaintiff until it "charged-off the account in accordance with loan-

loss provisions and will not charge any additional fees or interest on the account" 12



        17.           Previous to the alleged purchase of the account by the Defendant from

Sears, Sears charged-off an account alleged to have been incurred by Plaintiff.

        18.           Because Sears had charged-off the account, it was not required to send

periodic statements to Plaintiff as would other-wise be required by law.

        19.           Therefore after charging-off the account, Sears did not send any billing

statements regarding the account to the debtor.

       20.            Sears took advantage of the charge off exception to enable it not to be

required by send periodic billing statements.

       21.            The legal tradeoff for entitling Sears to take advantage of the charge

off exception is that it was precluded by law from charging any additional fees or interest

on the account.




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        22.           Therefore, after the account was written off, Sears was precluded by

law from charging additional fees or interest on the account because it had not sent out

the periodic statements.

        23.           Furthermore, Sears had therefore waived its right to charge interest on

the charged off account.      Simnkus v. Cavalry Portfolio Services, LLC, 2012 WL 1866542

2012; McDonald v. Asset Acceptance LLC, Case No. 2:11 -cv-1 3080, ED Michigan 2013.

        24.           Defendant professes to be in the same shoes as Sears.

        25.           Defendant would not acquire any greater rights than Sears had at the

time of the alleged purchase.

        26.           At the time of the alleged purchase, Sears did not have the legal right

to charge interest.

        27.           There is no legal basis for Defendant to charge interest on the charged-

off account for which Sears failed to maintain periodic statements.

       28.            By reporting that interest was due for which there was no legal basis,

Plaintiff violated 15 U.SC. 1692f which prohibits a debt collector from the collection of

any amount (including any interest, fee, charge, or expense incidental to the principal

obligation) unless such amount is expressly authorized by the agreement creating the debt

or permitted by law.

       29.            By reporting that interest was due for which there was no legal basis,

Plaintiff violated 15 USC. 1692e(a)8 which prohibits a debt collector from

communicating or threatening to communicate to any person credit information which is

known or which should be known to be false.




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        30.        The Plaintiff was attempting to collect a consumer debt as defined by

15 Usc §1I692a(5) as an obligation or alleged obligation of a consumer to pay money

arising out of a transaction in which the money, property, insurance or services which are

the subject of the transaction are primarily for personal, family, or household purposes,

whether or not such obligation has been reduced to judgment.

        31.        The standard in determining whether the Plaintiff violated the FDCPA

is the least sophisticated consumer standard. Claims should be viewed from the

perspective of a consumer whose circumstances make him relatively more susceptible to

harassment, oppression or abuse. Schweizer v. Trans Union Corp., 136 F.3d 233, 237

(2nd Cir. 1998); Swanson v. Southern Oregon Credit Service, 869 F.2d 1222, 1225-27

(9th Cir. 1988); Jeterv. Credit Bureau, Inc., 760 F.2d 1168, 1172 -75 (11Ith Cir. 1985);

Graziano v. Harrison,950 F.2d 107, 111 (3d Cir. 1991).


        32.        The above-described acts are misleading to the least sophisticated

consumer.

        33.        Defendant's acts, as described above, were done intentionally with the

purpose of coercing Plaintiff to pay the alleged debt.

        34.        As a result of the above violations of the stated Act, the Defendant is

liable to the Plaintiff for actual damages; statutory damages up to $1,000.00 pursuant to 15

U.s.c. §1I692k; costs and reasonable attorney's fees pursuant to 15 U. S.C. §1I692k.

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for actual damages; statutory damages pursuant to 15 U.S.C. §1692k; costs and

reasonable attorney's fees pursuant to 15 U.S.C. §1692k; and for such other and further

relief as may be just and proper.



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                                           COUNT 11
                VIOLATION OF KANSAS CONSUMER PROTECTION ACT

           COMES NOW Defendant, and as for Count 11 against Defendant, states and alleges

as follows:


          35.     Plaintiff incorporates herein the preceding paragraphs as though fully set

forth hereunder.

          36.     Plaintiff is a consumer as defined by K.S.A. §50-624(b) of the Kansas

Consumer Protection Act (KCPA).

          37.     Defendant is a supplier of consumer products as defined by K.S.A. §50-624

and is subject to the requirements and provisions of the Kansas Consumer Protection Act.

          38.     The transaction at issue is a consumer transaction as defined by K.S.A. §50-

624(c).

          39.     K.S.A §50-626 provides that "(a) No supplier shall engage in any deceptive

act or practice in connection with a consumer transaction."

          40.     The above-described actions of Defendant violated section K.S.A. § 50-

626(b)(1) by falsely making representationsmade knowingly or with reason to know that:

(A) property or services have sponsorship, approval, accessories, characteristics,

ingredients, uses, benefits or quantities that they do not have; and that (B) the supplier has

a sponsorship, approval, status, affiliation or connection that the supplier does not have.


          41.    Furthermore, K.S.A §50-627 provides that "(a) No supplier shall engage in

any unconscionable act or practice in connection with a consumer transaction. An



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unconscionable act or practice violates this act whether it occurs before, during or after the

transaction."

        42.      In determining whether an act or practice is unconscionable, K.S.A §50-626

provides that the Court shall consider circumstances of which the supplier knew or had

reason to know, such as, but not limited to the following that:

              (1) The supplier took advantage of the inability of the consumer
       reasonably to protect the consumer's interests because of the consumer's
       physical infirmity, ignorance, illiteracy, inability to understand the
       language of an agreement or similarfactor, and

                (6) the supplier made a misleading statement of opinion on which
        the consumer was likely to rely to the consumer's detriment.

       43.      Defendant's acts and omissions as described herein are deceptive pursuant

to K.S.A. §50-626 and unconscionable pursuant to K.S.A. §50-627.

       44.      By virtue of the actions of Defendant, Plaintiff was aggrieved by virtue of

the imposition of some burden or obligation that federal law was designed to alleviate.

       45.      Defendant's acts and omissions were willful and were part of a pattern of

deceptive and unconscionable acts and practices.

       46.      Each act or omission described above constitutes a separate violation of the

Kansas Consumer Protection Act, K.S.A. §50-623, et seq.

       47.      Because of Defendant's deceptive acts, is an aggrieved consumer, has been

hanmed, has incurred actual damages, and has incurred attorney fees.

       WHEREFORE, Plaintiff respectfully prays for judgment on Count II against

Defendant and requests the Court:

        a.      Award actual damages and restitution to Plaintiff;

        b.      If actual damages are less than $10,000.00, award statutory damages in an

        amount determined by the Court up to $10,000.00 per violation pursuant to K.S.A.


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   §50-634(b) and K.S.A. §50-636 for each and every violation of the Kansas

   Consumer Protection Act;

  c.    Award costs and reasonable attorneys' fees, pursuant to K.S.A. §50-634;

  and

  d.     Such other and further relief as the Court deems just and equitable.




                                               Respectfully Submitted,


                                               ATTORNEYS FOR PLAINTIFF



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